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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC

                 Defendant.


            GOVERNMENT’S MOTION FOR LEAVE TO FILE UNDER SEAL

        The United States of America respectfully moves for leave to file under seal a

supplement to its opposition to the motion of defendant Concord Management and Consulting

LLC for a bill of particulars. Dkt. No. 111. The supplement discusses the content of sensitive

discovery, and therefore is appropriately filed under seal pursuant to the protective order in this

case.

                               Respectfully submitted,

ROBERT S. MUELLER, III                                        JESSIE K. LIU
Special Counsel                                               United States Attorney

By: /s/                                                       By: /s/
Michael R. Dreeben                                            Jonathan Kravis
Jeannie S. Rhee                                               Deborah Curtis
Adam C. Jed                                                   Kathryn Rakoczy
950 Pennsylvania Avenue NW                                    555 Fourth Street NW
Washington, D.C. 20530                                        Washington, D.C. 20530
Telephone: (202) 616-0800                                     Telephone: (202) 252-6886

JOHN C. DEMERS
Assistant Attorney General for National Security

By: /s/
Heather N. Alpino
U.S. Department of Justice
National Security Division
950 Pennsylvania Ave. NW
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Washington, D.C. 20530
Telephone: (202) 514-2000




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